                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Gregg M. Holden
       Lauren M. Holden                                                           CHAPTER 13
                                 Debtor(s)

Rocket Mortgage, LLC f/k/a Quicken Loans, LLC f/k/a
Quicken Loans Inc.
                              Movant                                           NO. 20-13137 AMC
               vs.

Gregg M. Holden
Lauren M. Holden
                                 Debtor(s)
                                                                               11 U.S.C. Section 362
Scott F. Waterman
                                 Trustee

     MOTION OF ROCKET MORTGAGE, LLC F/K/A QUICKEN LOANS, LLC F/K/A
                          QUICKEN LOANS INC.
                 FOR RELIEF FROM THE AUTOMATIC STAY
                          UNDER SECTION 362

         1.       Movant is Rocket Mortgage, LLC f/k/a Quicken Loans, LLC f/k/a Quicken Loans Inc..

         2.       Debtor(s) are the owner(s) of the premises 252 E Springfield Rd, Springfield, PA 19064,

 hereinafter referred to as the mortgaged premises.

         3.      Movant is the holder of a mortgage, original principal amount of $253,285.00 on the

 mortgaged premises that was executed on July 28, 2016. The mortgage has been assigned as follows:

                  Mortgage Electronic Registration Systems, Inc., (“MERS”) as nominee for Quicken Loans,

 LLC f/k/a Quicken Loans Inc., to Quicken Loans, LLC dated 7/31/2020; recorded 8/25/2020.

         4.        Scott F. Waterman, is the Trustee appointed by the Court.

         5.       The commencement and/or continuation of the mortgage foreclosure proceedings by reason

 of non-payment of monthly mortgage payments were stayed by the filing of a Chapter 13 Petition in

 Bankruptcy by the Debtor(s).

         6.       Debtor(s) have failed to make the monthly post-petition mortgage payments in the amount

 of $2,227.70 for the months of October 2023 through November 2023 and $2,262.44 for December 2023

 with less of a suspense balance of $1,199.35.
        7.      The total amount necessary to reinstate the loan post-petition is $5,518.49.

        8.    Movant is entitled to relief from stay for cause.

        9.      This motion and the averments contained therein do not constitute a waiver by Movant of

its right to seek reimbursement of any amounts not included in this motion, including fees and costs, due

under the terms of the mortgage and applicable law.

        WHEREFORE, Movant prays that an Order be entered modifying the Stay and permitting Movant to

proceed with its mortgage foreclosure on the mortgaged premises, and to allow the Sheriff's Grantee to take

any legal action to enforce its right to possession of the mortgage premises. Further, Movant prays that an

Order be entered awarding Movant the costs of this suit, reasonable attorney's fees in accordance with the

mortgage document and current law together with interest.


                                                         /s/ Mark A. Cronin, Esq.
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